 Case 1:20-cv-03590-JEB   Document 419-7   Filed 03/12/25   Page 1 of 8




Meta MIL #6, Exhibit A
                     Filed Under Seal
 Case 1:20-cv-03590-JEB   Document 419-7   Filed 03/12/25   Page 2 of 8




Meta MIL #6, Exhibit B
                     Filed Under Seal
 Case 1:20-cv-03590-JEB   Document 419-7   Filed 03/12/25   Page 3 of 8




Meta MIL #6, Exhibit C
                     Filed Under Seal
 Case 1:20-cv-03590-JEB   Document 419-7   Filed 03/12/25   Page 4 of 8




Meta MIL #6, Exhibit D
                     Filed Under Seal
 Case 1:20-cv-03590-JEB   Document 419-7   Filed 03/12/25   Page 5 of 8




Meta MIL #6, Exhibit E
                     Filed Under Seal
 Case 1:20-cv-03590-JEB   Document 419-7   Filed 03/12/25   Page 6 of 8




Meta MIL #6, Exhibit F
                     Filed Under Seal
 Case 1:20-cv-03590-JEB   Document 419-7   Filed 03/12/25   Page 7 of 8




Meta MIL #6, Exhibit G
                     Filed Under Seal
 Case 1:20-cv-03590-JEB   Document 419-7   Filed 03/12/25   Page 8 of 8




Meta MIL #6, Exhibit H
                     Filed Under Seal
